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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARK ANDREWS,
            Plaintiff,
                                                     Case No. 1:22-CV-04259-SDG
v.

DINESH D’SOUZA, TRUE THE VOTE,
INC., CATHERINE ENGLEBRECHT,
GREGG PHILLIPS, D’SOUZA MEDIA
LLC, SALEM MEDIA GROUP, INC.,
REGNERY PUBLISHING, INC., and
JOHN DOES,
            Defendants.


     BRIEF IN SUPPORT OF DEFENDANTS DINESH D’SOUZA AND
            D’SOUZA MEDIA LLC’S MOTION TO DISMISS

      Defendants Dinesh D’Souza and D’Souza Media LLC (collectively “D’Souza

Parties”) hereby file this Brief in Support of their Motion to Dismiss Plaintiff’s

Complaint and respectfully submit that the First Amended Complaint (Doc. 27) (the

“FAC”) filed by Plaintiff Mark Andrews (“Plaintiff”) should be dismissed for failure

to state a claim upon which relief can be granted.

                              I.     INTRODUCTION

      In 2022, True The Vote, Inc. (“TTV”) conducted an election integrity

investigation comparing cell phone geolocation data with ballot drop box locations.

The investigation attempted to determine if certain cell phones repeatedly “pinged”

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near a drop box more than a handful of times during the voting prior to the 2020

presidential election. In cases where it appeared as though a particular cellular signal

had been in close proximity to drop box locations numerous times, public records

requests were used to view the actual footage of the voter at the drop box.

      The findings of the investigation were published in a film and a book authored

by Dinesh D’Souza, both titled 2000 Mules. The film and book contain images of

several individuals depositing ballots in public drop boxes who, based on

surveillance video, geotracking, and other facts and data disclosed in the film and

the book, are generally described by certain speakers in the film and the author of

the book as ballot “mules.” In the book and the film, these individuals were not

identified by name and were blurred such that they could not be recognized. Plaintiff

alleges that unblurred versions of the video were shown on various news programs,

such as Tucker Carlson Live.

      Plaintiff contends in a variety of claims in the FAC that he is one of the

individuals shown in the blurred images included in the film and the book, that he

was not a “mule,” and that he is now fearful as a result of the defendants’ actions.

Throughout the FAC, a prototypical “shotgun pleading,” he generally lumps together

the seven named Defendants and “John Does” without any effort to assert which

defendant purportedly did what, which defendant is responsible for which purported

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instance of publication, or which defendant’s actions resulted in which claims.

Clarity around these allegations is critical, particularly when considering the fact that

the D’Souza Parties never published any video or photo of Plaintiff in which he was

identifiable.

                II.   SUMMARY OF PLAINTIFF’S ALLEGATIONS
      Plaintiff alleges the following relevant facts in support of his FAC: 1

      Defendant Dinesh D’Souza is a writer, filmmaker, podcaster, and media

personality. (Doc. 27 at ¶ 18.) Mr. D’Souza directed, produced, and narrated a

documentary film regarding election integrity and potential voter fraud called 2000

Mules and later authored a book by the same title. (Id.) Defendant True the Vote,

Inc. (“TTV”) is an organization that works to ensure election integrity, and it

provided much of the research that is included in the film and the book. (Id. at ¶¶ 19-

20.) Defendants Catherine Engelbrecht and Gregg Phillips are associated with TTV,

were executive producers and producers of the film, are quoted in the book, and

made media appearances promoting the film and book. (Id. at ¶¶ 20-22.) Salem is

a media and production company. (Id. at ¶ 25.) Regnery is a publishing company


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  The D’Souza Parties recognize that on a motion to dismiss for failure to state a
claim, the Court must accept the allegations in the complaint as true. See United
Techs. Corp. v. Mazer, 556 F.3d 1260, 1269 (11th Cir. 2009). While the D’Souza
Parties recite certain allegations of the FAC herein, they do not admit that any of
those allegations are true.
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that operates as a subsidiary of Salem and that published the book 2000 Mules. (Id.

at ¶ 26.)

       The film and the book contain blurred images and video from surveillance

footage of multiple individuals, including Plaintiff, depositing ballots at unidentified

public drop boxes, as well as statements that the individuals are “mules” engaged in

voter fraud or criminal activity. (Id. at ¶¶ 6-7, 9, 36-37, 74.) Plaintiff’s face is

obscured in all the images of him that are included in the film and the book, and he

is not identified by name or other personal information in either work. (Id. at ¶¶ 38-

39, 74, 150.). Certain unblurred images and video of Plaintiff depositing ballots in

a drop box were allegedly broadcast or published by entities other than the D’Souza

Parties, including news organizations. (Id. at ¶¶ 50-52, 63, 90, 126, 147, 157, 244.)

       Plaintiff alleges that the images of him in the film and book show him legally

dropping off ballots for himself and his family and that Defendants defamed and

injured him by falsely accusing him of committing voter fraud. (Id. at ¶¶ 2-3.) The

FAC asserts claims for conspiracy in violation of Section 1985(3) of the Civil Rights

Act, violation of Section 11(b) of the Voting Rights Act, defamation, invasion of

privacy by false light, invasion of privacy by appropriation of likeness, civil

conspiracy, and punitive damages. (Id. at ¶¶ 258-322.) The FAC is the epitome of




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a “shotgun pleading” in which all counts are asserted against “all Defendants,” with

each count incorporating all previous paragraphs of the FAC. (Id.)

            III.   ARGUMENT AND CITATION OF AUTHORITIES

      A.     Legal Standard for Rule 12(b)(6) Motion to Dismiss

      A motion to dismiss under Rule 12(b)(6) should be granted unless the

complaint contains “enough facts to state a claim for relief that is plausible on its

face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The “[f]actual

allegations must be enough to raise a right to relief above the speculative level,” and

“labels and conclusions or a formulaic recitation of the elements of a cause of action

will not do.” Id. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678-679 (2009). While the

Court must accept the factual allegations of the complaint as true, it “is not required

to accept a plaintiff’s legal conclusions.” Sinaltrainal v. Coca-Cola Co., 578 F.3d

1252, 1260 (11th Cir. 2009). Indeed, “conclusory allegations, unwarranted factual

deductions or legal conclusions masquerading as facts will not prevent dismissal.”

Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003). Moreover,

under Georgia law, “a claim sounding in libel is a traditionally disfavored cause of

action and the courts tend to construe the complaint by a somewhat stricter

standard.” Escort v. Verizon Commc’ns, Inc., No. 1:05-CV-1438-BBM, 2005 WL

8155369, at *3 (N.D. Ga. Sept. 27, 2005) (Martin, J.) (citation omitted). When faced


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with a shotgun pleading, the Court is not required “to sift through the facts presented

and decide for itself which [are] material to the particular cause of action asserted.”

Beckwith v. Bellsouth Telecomms., Inc., 146 Fed. Appx. 368, 372 (11th Cir. 2005)

      B.     The FAC Is an Impermissible Shotgun Pleading

      As explained in Salem’s and Regnery’s Motion for More Definite Statement,

which the D’Souza Parties have joined, the FAC is an impermissible shotgun

pleading that improperly lumps all “Defendants” together, fails to identify which

statements are defamatory and which statements were allegedly published by which

Defendant, and incorporates all previous counts and allegations into each subsequent

count. Federal courts have recognized that this type of shotgun pleading is especially

problematic where, as here, a plaintiff asserts a defamation claim against multiple

defendants. See, e.g., Pierson v. Orlando Reg’l Healthcare Sys., Inc., 619 F. Supp.

2d 1260, 1271 (M.D. Fla. 2009), aff’d, 451 Fed. Appx. 862 (11th Cir. 2012)

(requiring defamation claim with “group pleading” to be repled to specify which

defendants allegedly made which defamatory statement so that each defendant is put

on fair notice of the claim against him); Collins v. BSI Financial Services, No. 2:16-

CV-262-WHA, 2017 WL 1045062, at *3 (M.D. Ala. Mar. 17, 2017) (dismissing

plaintiff’s defamation claim for failure to specify “what special damages were

caused by which [d]efendant, by what acts or act, and when”).


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      This Court has similarly stressed that a plaintiff asserting a defamation claim

must identify which specific statements he contends are defamatory, which specific

defendants made each statement, and when the statements were made. See, e.g.,

Khadija v. Fannie Mae, No. 1:12-CV-02519-WSD, 2012 WL 6681736, at *10 (N.D.

Ga. Nov. 30, 2012) report and recommendation adopted by No. 1:12-CV-2519-

WSD, 2012 WL 6677990 (N.D. Ga. Dec. 21, 2012) (dismissing claim for libel and

defamation where plaintiffs generally alleged defendants “reported false and

inaccurate information” but failed to allege “the specific statements Defendants

made or when they made them”). The FAC fails entirely in this regard. (See Doc.

27 at ¶¶ 278-294.)

      The FAC should be dismissed as an improper shotgun pleading, or at a

minimum, Plaintiff should be required to replead his claims.

      C.    The FAC Fails to State a Civil Rights Conspiracy Claim (Count I)

The D’Souza Parties join the arguments of Salem and Regnery as set forth in Dkt.

48; 48-1.

      D.    The FAC Fails To State a Claim Under Section 11(b) of the Voting
            Rights Act (Count II)

The D’Souza Parties join the arguments of Salem and Regnery as set forth in Dkt.

48; 48-1.



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       E.   Plaintiff’s Claim for Defamation Per Quod Should Be Dismissed
            Because Plaintiff Failed to Plead Special Damages.


The D’Souza Parties join the arguments of Salem and Regnery as set forth in Dkt.

48; 48-1.

      F.    Plaintiff’s Invasion of Privacy Claims (Counts IV and V) Fail
            Because the Statements at Issue Involve a Matter of Public Interest

The D’Souza Parties join the arguments of Salem and Regnery as set forth in Dkt.

48; 48-1.

                                 CONCLUSION

      For the foregoing reasons, the D’Souza Parties respectfully request that the

Court dismiss the FAC against them in its entirety.

      Respectfully submitted this 13th day of January, 2023.

                                             /s/ Amanda G. Hyland
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, counsel certifies that the foregoing was prepared

in Times New Roman, 14-point font, in compliance with Local Rule 5.1C.


                                      /s/ Amanda G. Hyland
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